Case 1:14-cv-05683-KBF-DCF Document 33 Filed 10/20/14 Page 1of3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SAGI GENGER,
Plaintiff, 1:14-cv-05683 (KBF)
— against —
ORLY GENGER

Defendant.

 

x
DECLARATION OF MARY C. PENNISI, ESQ.

I, Mary C. Pennisi, Esq., pursuant to 28 U.S.C. § 1746(2), hereby declares under penalty
of perjury that the foregoing is true and correct:

1. I am an associate with the law firm of Morgan, Lewis & Bockius, LLP, counsel
for Plaintiff Sagi Genger (“Sagi”) in the above-captioned action. I respectfully submit this
declaration in support of Sagi’s motion for summary judgment. |

2. . Attached hereto as Exhibit “A” is a true and correct copy of the deposition
transcript of Sagi Genger, dated March 20, 2014.

3, Attached hereto as Exhibit “B” is a true and correct copy of the deposition
transcript of Orly Genger, dated February 14, 2014.

4. . Attached hereto as Exhibit “C” is a true and correct copy of the Final Arbitration
Award of E. Leo Milonas, dated May 6, 2008, in the arbitration captioned Dalia Genger v. Arie
Genger (AAA Case No, 13 170 Y 00996 07).

5. Attached hereto as Exhibit “D” is a true and correct copy of the Declaration of

Dalia Genger, executed and filed at 1:14-cv-01006-KBF (Dkt. No. 46) on July 7, 2014.
Case 1:14-cv-05683-KBF-DCF Document 33 Filed 10/20/14 Page 2 of 3

6, Attached hereto as Exhibit “E” is a true and correct copy of the Decision and
Order entered by the Appellate Division, First Department on July 24, 2014 in Arie Genger et al
v. Sagi Genger et al, No. 651089/2010.

7. Attached hereto as Exhibit “F” is a true and correct copy of an email dated
January 24, 2014, from one of Orly’s lawyers, Lance G. Harris, to John Dellaportas.

8. Attached hereto as Exhibit ““G” is a true and correct copy of the deposition
transcript of Orly Genger, dated March 1, 2012. |

9, Attached hereto as Exhibit “H” is a true and correct copy of the Declaration of
David Parnes, executed and filed at 1:14-cv-01006-KBF (Dkt. No. 20) on May 29, 2014, with
exhibits attached thereto.

10. Attached hereto as Exhibit “I” is a true and correct copy of the Declaration of
Sagi Genger, executed and filed at id. (Dkt. No. 23) on May 29, 2014, with exhibits attached
thereto.

11. Attached hereto as Exhibit “J” is a true and correct copy of the Declaration of
Dennis Ryan, executed filed at id. (Dkt. No. 21) on May 29, 2014, with exhibits attached thereto.

12. Attached hereto as Exhibit “K” is a true and correct copy of the Declaration of
Sagi Genger, executed and filed at id. (Dkt. No. 45) on July 7, 2014, with exhibits attached
thereto.

13. Attached hereto as Exhibit “L” is a true and correct copy of the divorce
Stipulation of Settlement (without exhibits) made as of October 26, 2004 and which formalized
the terms of Dalia Genger’s and Arie Genger’s divorce.

14. Attached hereto as Exhibit “M” is a true and correct copy of an email dated

January 29, 2014, from another one of Orly’s lawyers, Yoav Griver, to John Dellaportas,
Case 1:14-cv-05683-KBF-DCF Document 33 Filed 10/20/14 Page 3 of 3

Executed on: New York, New York i, Ho).
October 20, 2014

MARY C: PENNISI
